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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

                  v.                                    CRIMINAL NO. 1:23-cr-177-ABJ

 SHANE BRIAN LAMOND,

                  Defendant.


                             DEFENDANT SHANE LAMOND’S
                           MOTION TO CONTINUE SENTENCING

          Defendant Shane Lamond, by counsel and pursuant to Criminal Rule of Procedure 111(a),

hereby moves this Court for at least a three-week continuance of the deadline to submit the

Presentence Investigation Report, the sentencing memoranda, currently set for March 21, 2025,

and of the sentencing hearing itself, currently set for April 3, 2025. In support of this Motion,

undersigned counsel states the following:

          Mr. Lamond and undersigned counsel had arranged with Probation for a Presentence

Investigation Interview on February 11, 2025. However, due to weather which shut down

government operations, forced the interview to be rescheduled. The assigned Probation Officer’s

next available date for the interview is February 25th, which is the same date the initial report is

due to her supervisor.

          The assigned Probation Officer has asked for an additional three weeks to complete the

Report.

          Undersigned counsel has communicated with the Government regarding this motion.

Counsel for the Government consented to moving the deadline for filing Pre-Sentence

Investigation Report, but has not consented to changing the sentencing date. Mr. Lamond is not

detained and the delay to permit the completion of the Pre-Sentence Investigation Report and
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subsequent sentencing memoranda by the parties is in the furtherance of the interests of justice.

While denying Mr. Lamond the appropriate time necessary to prepare for sentencing after the

completion of the report will thwart the interests of justice.

       WHEREFORE, Mr. Lamond respectfully requests that this Court grant his Motion and

continue the sentencing currently set for April 3, 2025 to a mutually agreeable date for the parties

after April 24th. A proposed order is attached.



Dated: February 20, 2025                          Respectfully submitted,



                                                   /s/ Mark E. Schamel
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                                                  Counsel for Defendant Shane Lamond




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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 20th day of February, 2025, I caused a copy of the

foregoing to be served on all counsel of record via ECF.




                                            /s/ Mark E. Schamel
                                            Mark E. Schamel (DC Bar No. 463965)

                                            Counsel for Defendant Shane Lamond
